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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                     4:11CR3087
                                                )
               v.                               )
                                                )
GUY E. ALLEN, TERRELLE L. TYLER,                )          MEMORANDUM AND ORDER
CEDRIC WILLIAMS,                                )
                                                )
                      Defendants.               )

       Defendants Allen and Tyler have moved to continue the trial currently set for May 14, 2012.
(Filing Nos. 60 & 61). As explained in the defendant’s motion, the defendants need additional time
to investigate this case and complete discovery. The government does not oppose the requested
continuance. The court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      The motions to continue filed by defendants Allen and Tyler, (filing nos. 60 & 61),
               are granted.

       2)      As to all defendants, the trial of this case is set to commence before the
               Honorable Richard G. Kopf at 9:00 a.m. on July 16, 2012, or as soon thereafter
               as the case may be called, for a duration of six (6) trial days. Jury selection
               will be held at commencement of trial.

       3)      Based upon the showing set forth in the defendants’ motions and the representations
               of their counsel, the Court further finds that the ends of justice will be served by
               continuing the trial; and that the purposes served by continuing the trial date in this
               case outweigh the interest of the defendant and the public in a speedy trial.
               Accordingly, the time between today’s date and July 16, 2012 shall be excluded for
               speedy trial calculation purposes. 18 U.S.C. § 3161(h)(7)(A).


       DATED this 2nd day of May, 2012.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
